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TRAFFICSCHOOL.COM, INC. and
DRIVERS ED DIRECT, LLC, California companies.
UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

TRAFFICSCHOOL.COM, INC.
a California corporation; DRIVERS ED
DIRECT, LLC, a California limited

Case No. CV 06-7561 PA (Cwx)
The Honorable Percy Anderson

liability company,
DECLARATION OF MINA I.
Plaintiffs, HAMILTON IN SUPPORT OF
PLAINTIFFS’ MOTION FOR
VS. CONTEMPT AGAINST

DEFENDANTS FOR VIOLATION OF
EDRIVER, INC., ONLINE GURU, THE COURT’S INJUNCTION AND
INC., FIND MY SPECIALIST, INC., |) FOR SANCTIONS
and SERIOUSNET, INC., California
corporations; RAVI K. LAHOTI, an

individual; DOES 1 through 10, Date: January 26, 2009
Time: 30 p.m.
Defendants. Courtroom: 15

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DECLARATION OF MINA I. HAMILTON IN SUPPORT OF PLAINTIFFS’ MOTION FOR CONTEMPT

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DECLARATION OF MINA I. HAMILTON

I, Mina I. Hamilton, declare as follows:

1. Lam apartner with the law firm of Lewis Brisbois Bisgaard & Smith LLP
and I have personal knowledge of the contents set forth herein, and if called as a
witness to testify thereto, I could competently and truthfully do so. .

2. Attached hereto as Exhibit “A” is a true and accurate copy of the Court’s
final Judgment and Permanent Injunction entered on August 26, 2008, Docket # 215.

3, Attached hereto as Exhibit “B” is a true and accurate copy of an email with
attachments that I sent Defendants’ counsel Mr. Brian Daucher related to Plaintiffs’
motion for contempt, with the following particulars:

a. In the September 3, 2008 email from me to Mr. Daucher with the

subject “DMV.ORG-Injunction Non-Compliance-2™ Notice (25162-14),” among other
things, I informed Mr. Daucher of an image that was appearing on the splash screen

page http://www.dmv.org/ca-california/drivers-ed.php# and attached a copy ofa screen

shot of that page that I made on 9/3/08 at 9:45 a.m. which shows the Teen Drivers
Education advertisement appearing on the splash screen.

b. Also, in the same September 3, 2008 email, I informed Mr. Daucher
of “title tag” text that was appearing on the splash screen pages, and attached copies of
screen shots of exemplar pages that I made on 9/3/08 which shows text appearing in the
top portion of the splash screen (in the blue browser bar), such as “California Drivers
Ed Online Guide-CA Driver Education Information- DMV.ORG” (9:45 screen shot)
and “DMV Guide-DMV.ORG-Department of Motor Vehicles guide-Windows Internet
Explorer” (9:41 screen shot).

4. Attached hereto as Exhibit “C” is a true and accurate copy of the
September 3, 2008 email reply to me by Mr. Daucher to the aforementioned email, in
which Mr. Daucher states “FYI, our clients did identify the error on the screen shot and

have fixed it...”

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5. Attached hereto as Exhibit “D” is a true and accurate copy of another
email with attachments that I sent to Defendants’ counsel Mr. Daucher. In that
September 22, 2008 email with the subject “DMV.ORG-Injunction Non-Compliance-
Ath Notice (25162-14),” I informed Mr, Daucher that the splash screen was displaying
“drop down” menus of county listings in New York and New Jersey that directed the
visitor to DMV.ORG’s providers of driving school and/or traffic school without the
visitor ever clicking on the ‘continue’ button. I attached copies of screen shots of four
of those pages which show a drop down menu displayed on the screen page entitled
“Choose Your County,” as well as an example of a list of counties and the resulting
advertisement to “American Safety Classes” defensive driving classes on the
DMV.ORG site.

6. Attached hereto as Exhibit “E” is a true and accurate copy of the
September 23, 2008 email reply to me by Mr. Daucher to the aforementioned email, in
which Mr. Daucher states “I can see the problem on the link. We are looking into and it
will be fixed...”

7. In a later email dated September 24, 2008, a true and accurate copy of
which is attached hereto as Exhibit ““G”’, Mr. Daucher states: “The most recent issue
you raised with the dropdowns on four pages (of the 5,000+ pages of the web site) were
simply a technical bug, that has been resolved.”

8. After numerous back and forth communications regarding various other
contempt issues, I sent Mr. Daucher an email on September 23, 2008, a true and
accurate copy of which is attached hereto as Exhibit “F” and entitled “DMV.ORG-
Injunction Non-Compliance-Recap and 5" Notice (25162-14),” intending to summarize
Plaintiffs’ positions and the status of Defendants’ responses with regard to the
DMV.ORG logo issue, the title tag issue, the mobile device issue, the drop down menus
issue, and the drivers education advertisement issue. I also brought other non-
compliance issues to the attention of Mr. Daucher at that time, such as the Java Script

and “cookies” issues.

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9. Attached hereto as Exhibit “G” is a true and accurate copy of the -
aforementioned summary email to Mr. Brian Daucher and Mr. Daucher’s response
thereto whereby he states, among other things, the following:

“The fact is that the imposition of a splash page is a
complicated undertaking that will require refinement and
adjustments over time. Our clients are not experts in splash
page mechanics, and there are technical limitations to splash
page functionality.”

10. Attached hereto as Exhibit “H” is a true and accurate copy of my
September 24, 2008 email seeking a specific response from Mr. Daucher regarding the
mobile device issue and Mr. Daucher’s September 25, 2008 response whereby he
states, among other things, the following: “With respect to mobile devices, further
technical work is ongoing, but it is operative in most cases.”

11. OnDecember 16, 2008, I confirmed that the DMV.ORG splash screen still
displayed “title tag” text in the blue bar of the web browser. Attached hereto as Exhibit
“T’ is a true and accurate copy of selected screen shots of the splash screen that I made
on that day. After creating the screen shots, I added a circle which identifies the title
tag text and the corresponding URL. The precise title tag text that appeared on the
splash screen depended on the URL or pathway link that I used to access the dmv.org

domain. For example, when I typed in www.dmv.org into the address bar of my web

browser, I was directed to the splash screen that contained the following title tag text:
“DMV.ORG-DMV Guide-The Unofficial Guide to the DMV—Windows Internet

Explorer.” However, when I did a search in Google for “California traffic schools” and

clicked on the resulting link of www.dmv.org/ca-california/traffic-schools.php, the titie
tag text on the DMV.ORG splash screen changed to “California Traffic Schools Online
Guide- Find CA Internet Traffic Ticket School Info- DMV.ORG ~— Windows Internet
Explorer.” Other searches and resulting links displayed different title tag text, including
“Drivers Ed Online Guide-Online & Classroom Driver Education Info-DMV.ORG-

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Windows Internet Explorer” (for the URL www.dmv/drivers-ed.php), “New York
Ticket & Traffic School Guide-DMV.ORG-Windows Internet Explorer” (for the URL

www.dmv.org/ny-new-york/tickets-driving-schools.php), and “Texas Traffic Schools

Online Guide-Find TX Internet Traffic Ticket School Info-DMV.ORG- Windows

Internet Explorer” (for the URL www.dmv.org/tx-texas/traffic-schools.php). These

selected examples are displayed in Exhibit I.
12. Attached hereto as Exhibit “J” are true and accurate copies of print-outs

from the website located at www.onlineguru.com with asterisks next to the following

statements:
“6 Million Unique Visits Per Month”;

b. “30 Million-Plus Page Views Per Month”; and

C. “By targeting numerous high growth website categories
(Automotive...) we have aligned ourselves to capitalize on the
continued growth of these categories. Through this diversification
and strategic alignment, OnlineGURU is well positioned for
exponential growth in the years ahead.”

d. “On what we call The Path to Onlightenment, the company turns
out top-ranking sites such as the flagship, DMV.ORG-The
Unofficial Guide to the DMV. With more than 65 million users a
year, it’s become one of the Top Five automotive sites and one of
the Top 300 Web sites in the United States.”

e. “DMV.ORG has become such a widely used resource, we’ll use it
as a model to develop the other 5,000 domain names held by our
company.”

13. Attached hereto as Exhibit “K” 1s a true and accurate copy of an October
13, 2008 news article from the Los Angeles Times that states (on the last page) the
following: “The mobile Web is next, and companies are jostling to provide technology

and applications used by consumers. About 11% of North American adults use the

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Internet on their cellphones at least once a month, and an additional 6% do it less
frequently, according to Forrester.”

14. Attached hereto as Exhibit “L” is a true and accurate copy of a May 30,
2008 article from Information Week entitled “BlackBerry Leads, iPhone Follows U.S.
Smartphone Sales” discussing that for the first three months of 2008, the BlackBerry
“grabbed 44.5% of the market” and that Palm was in third place for sales.

15. Attached hereto as Exhibit “M” is a true and accurate copy of a December
30, 2008 print-out from the website of The Internet Advertising Bureau located at

www.iab.net that states, in relevant part: “The Internet Advertising Bureau (IAB) is

comprised of more than 375 leading media and technology companies who are
responsible for selling 86% of online advertising in the United States.”

16. Attached hereto as Exhibit “N” is a true and accurate copy of the
September 4, 2008 email reply to me by Mr. Daucher to my email regarding the
DMV.ORG logo issue. Also attached is a true and accurate copy of a screen shot that I
made of my computer screen when I viewed the dmv.org logo attachment that Mr.
Daucher attached to the same email. In this email to me, Mr. Daucher states, inter alia,
the following:

a. “The Injunction requires all caps 14 point font for the disclaimer,
which we have adhered to.”

b. “If we make the letters “DMV.ORG in the logo less than 14, as you
suggest, the logo becomes illegible (see attached)....”

I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct and that this Declaration was executed on January 4,

2009, at Los Angeles, California.

ina I. Hamilton

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